Case 2:O4-cr-20l40-.]PI\/| Document 223 Filed 08/03/05 Page 1 of 2 Page|D 298

lN THE UNITED sTA'rEs DIsTRrCT CoURT ';"` '~"~F`Y'Mb; G.c.
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UNITED STATES OF AMERICA

 

 

 

 

V- 04-20140-04-Ml
KENNETH KENARD BROWN
ORDER ON ARRAIGNMENT
This cause came to be heard on 6 -' 3 -O 5 , the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:
NAME 0 €)¢° un SUJ"H ~&"> who is Retained/Appointed.

 

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal pri soner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

/ /'___
UNITED STATES MAGISTRATE JUDGE

CHARGES: 1811951; 18:924 (c);

U. S. Attorney assigned to Case: T. Arvin

Age: 23

Ttns document entered on the docket sheet In compliance 02 2
with Ftute 55 and/or 32(!3) FHCrP on ` “O n

   

UNITED `sATEs DlsTRIC COURT - wEsTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 223 in
case 2:04-CR-20140 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

